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EXHIBIT G
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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

MARISSA CARTER, et al.,
SCHEDULING ORDER

Plaintiffs,
14-CV-6275G
Vv.

CIOX HEALTH, LLC, et al.,

Defendants.

Pursuant to the order of the Hon. Frank P. Geraci, Jr., Chief United States District
Judge, referring the above case to the undersigned for pretrial procedures and the entry of a
scheduling order as provided in Fed. R. Civ. P. Rule 16(b) and Local Rule 16, and a conference
having been held on August 16, 2017 with counsel relative to the matter, it is ORDERED that:

1. All mandatory disclosure requirements found in Rule 26(a)(1) of the
Federal Rules of Civil Procedure, as well as any objections to the mandatory disclosure
requirements, shall be completed on or before September 8, 2017.

2. All motions to join other parties and to amend the pleadings shall be filed
on or before January 5, 2018. Any third party action shall be commenced on or before January
5, 2018.

3. Motions relating to class certification shall be filed by no later than

January 31, 2018.
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4. A status conference will be held with the undersigned at 2310 U.S.

Courthouse, Rochester, New York on January 9, 2018, at 11:00 a.m., to discuss the status of the
case and the possibility of settlement.

5. All factual discovery in this case, including depositions, shall be
completed on or before August 3, 2018, or within 120 days of the Court’s ruling on class
certification (whichever is later). All motions to compel discovery shall be filed at least thirty
(30) days prior to the factual discovery cutoff.

6. _- Plaintiffs shall identify any expert witnesses pursuant to Fed. R. Civ. P.
26(a)(2)(A) and provide reports pursuant to Rule 26(a)(2)(B) and/or disclosures pursuant to Rule
26(a)(2)(C) by no later than 30 days after the factual discovery deadline. Defendants shall
identify any expert witnesses and provide reports pursuant to Fed. R. Civ. P. 26 by no later than
60 days after the factual discovery deadline. Plaintiffs shall identify any rebuttal experts and
provide rebuttal reports by no later than 90 days after the factual discovery deadline. Parties
shall complete all discovery relating to experts, including depositions, by no later than 135 days
after the factual discovery deadline.

7. Dispositive motions, if any, shall be filed no later than February 1, 2019,
or within 285 days of the Court’s ruling on class certification (whichever is later). Unless a
consent to proceed before this Court has been filed, such motions shall be made returnable before
Chief Judge Geraci.

8. A trial date status conference pursuant to Fed. R. Civ. P. Rule 16(e) and

Local Rule 16 will be held, if necessary, at a date and time to be determined by the trial judge
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after determination of dispositive motions. If no dispositive motions are filed, counsel shall
immediately contact the trial judge so that a trial date status conference can be scheduled.

At least seven (7) days prior to the trial date status conference, the parties
shall file a joint case status report setting forth the information described below. If the parties
disagree as to the information to be provided, the report must set forth their different responses.
The joint status report shall contain:

(1) Nature of the Case: Set forth a brief description of the action,
identifying the parties, all counsel of record, the relief requested,
any affirmative defenses and any relationship the case may have to
other pending actions.

(2) Motion Practice: Are any motions, dispositive or non-dispositive,

pending? If so, briefly describe the motion. Explain if additional
motion practice is necessary before the matter is ready to be tried.

(3) Settlement: Describe the status of settlement negotiations. If the
parties believe a court supervised settlement/mediation conference
would be of assistance in resolving the case or narrowing disputed
issues, please state.

(4) Trial: State whether the case is ready for trial. If not, explain why.
Set forth an estimate of how long the trial will take and whether the
case is jury or non-jury.

No extension of the above cutoff dates will be granted except upon written

application, made prior to the cutoff date, showing good cause for the extension. Application for
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extensions should be made to the Magistrate Judge. Joint or unopposed requests to extend the
deadlines set forth in this order need not be made by formal motion, but rather may be sought in a
letter to the court. Letter requests must detail good cause for the extension and propose new
deadlines.
IT IS SO ORDERED.

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MARIAN W. PAYSON
United States Magistrate Judge

Dated: Rochester, New York
August 22, 2017
